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                                        CLEARANCE AGREEMENT


        Ladies and Gentlemen:

             We ag;.:ee to· act as your, non-exclusive clearance agent for
        securities transactions 5ubj ect tc the terms and· conditions set
        forth below, ar.d to any addenda which may be agr~ed upon, which
        shall constitute apart of this letter agreement, and to open and
        maintain a clea~ance account, as defined below.

               1.     Securities.

             The term "secur::.. :cies" shall include, without limitation,
        obligations of the United States Govermnent and its agencies,
        bankers' acceptances, certificates of deposit, commercial paper,
        and, such other certificctted and uncertificated securities a.[1(1
        other instruments as may be agreed upon by the parties her8~0.

               2.    Accounts.

               We are hereby aut~orized to. agree, and agree pursua:1t t~~ jim: ':"
        instructions 1;.0 open and llLai ntaJ,n a c::"earance accoun'!:;, t"hici-' <:,.1 ~
        consist of one or' men;: ;::;L::aring accounts in which your S~c-I_] r1;,;.is<;
        and funds Wl':J. be credited for your benefit and will. oe '5,:;(; .:(~(,:;·c~!.=·Li
        on our books and records ::ind l.Jhich we wi J.1 h,:::lld 2S YOL":t: c,::uO"T:.-.,c I,·an,
        free of our lien, claim 0.1:" interest (the "Clear.HJ3 Accc1.2nts";, on.e
        or more custody accounts in which your Securities and fundswili
        h3 credited for your benefit and will be s€gregated on our books
        and records and which ~~~ \.Jill hold as your custodian,' free of m,Ci.-
        l:;"en, claim Or interest (the "Custody Accounts"), .one (;r more.
        demand deposit accounts, and {nay also consist of onE (1.(' nl<)I.E~.
        segregated accounts consistinl;J of securities car~5_ed by yUe: fo:
        the account of o~e OE more of your customers a3 listed ir. Schedule
        E hereto, as aluended from time' to time by you s'ubj Gct to our
        app'coval,   which   shall    not     be   unreasonably      withheld               (tl"Je
        "Segregated Accounts")       (all of which account!;; together are
        sometimes hereinafter referred to as t::e "Account").                                You.
        authorize us to debit, based upon your instructions, and cred.i..t
        all transactions to ~he Account daily.

              3.     Authority.

             We ·are hereby authorized, as your agent, and agree pursL1ant
        to your instructions, (a) to receive and transfer securities for
        any purpose whatsoever, including, without limitation, as a pledge
        of collateral; (b) to make payments and collections of monies; (c)

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        to permit you to make transfers between the Clearing Account(s),
        Custody Account (s)    and the Segregated Account(s)     or other
        accounts, it being understood that we shall only permit transfers
        from the Clearing Account (8) to the Custody Account (s) or
        Segregated Account (s} to the extent that after.such transfer we
        remain fully collateralized; have been fully paid with respect to
        any securities being transferred into the Segregated Account(s) or
        other accounts; and (d) to transfer securities which we hold· for
        you as such securities may be needed to secure loans· with such
        entities as you may specify; (e) to receive from su.ch ent.ities as
        you may specify securities held as collateral for loans against
        the payment of funds required to obtain the release· of your
        collateral; (f) to perfornl any other act incidental or necessary
        to the performance of thc C1bove.

              In connection with the performance of our services hereunder,
        we hereby agree to pJ:ovide you with access tOt   (i) to the extent
        you provide us· with a location, ten dedicated terminals and one
        high speed printer, and (ii) to the extent we provide a location,
        terminals and one high speed .printer at a New York ·City location,
        to be shared with our other clearance customers, giving due
        consideration to your volume of business, at all times on and
        after the conversion dater such terminals in both (i) and (ii) t:o
        be connected to a securities transfer system and available to you
        ·in the event of Lehman Brothers, regional or other :system outage.
        At least once each calendar year r we and you/ at our respective
        expense/ shall jointly participate in disaster recovery testing,
        pursuant to a plan to be mutually agreed upon.

              4.    Pa~nent   and Delivery.

                    (a)  In the event we have no other reasonable choice we
              agree to accept Fed Funds checks as payment if received prior
              to 3:00 p.m. New York time, whether certified or not, as the
              equivalent of cash and all risks of collectability and credit
              responsibility with respect to such checks shall be borne by
              you alone. We may accept as correct your specification of the
              net proceeds to be paid or collected for any securities, and
              we shall have no obligation to verify your computation of
              such amount.

                    (b) When we    are   instructed to   deliver  physical
              securities against :Rayment, delivery of the securities and
              the receipt of payment may not be completed simultaneously.
              Subject to our obligation to attempt to collect payment and
              performance of our obligations hereunder; the risk of non-
              receipt of payment shall be yours,       we shall have no
              responsibility or liabil·ity therefor, and your risk shall
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              continue until   final   payment   (as   defined   below). has     been
              received.

                    (c) For all purposes of this Agreement, payment with
              respect to a transaction shall not be "final" until we have
              received immediately available funds which under applicable
              law are irreversible, which are not subject to any security
              interest, levy, lien, or other encumbrance, and which funds
              are specifically applicable, or are deemed by us to be
              specifically applicable, to such transaction.   Any debit of
              any account by us which creates an ove~draft or, in the case
              where securities have been delivered out from the Account,
              which does not otherwise result· in the receipt by us of
              immediately available, irreversible and unencumbered funds,
              shall not constitute final pa~nent.

                    (d) All credits to the Account in connection with tri-
              party repurchase transactions and physical securities,
              regardless of how characterized, are conditioned upon the
              actual receipt of final payment and· may be reversed to the
              extent payment is not received.         Without limiting the
              generality of the foregoing, in the event that. we, : as a
              matter o-f bookkeeping convenience,      credit. the Clearing
              Account with the proceeds from the sale, redemption or other
              disposition of physical securities Or in connection .with tri-
              party repurchase transactions prior to our actual receipt of
              final. payment . therefor   and   notwithstanding   that  such
              bookkeeping credits may also be reflected on our books, and
              otherwise r as "immediately available or "same dayj, funds or
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              by some similar characterizationrall such credits shall be
              conditioned upon our actual receipt of final pa~nent and may
              be reversed by us, after notice to you, to the extent· that
              such final payment is not received.           We may ,in our
              discretion, but shall not be obligated to, permit you to use
              any such funds prior to final payment.

                    (e) Any and all securities which we may now or
              hereafter hold in the Account, and which you may instruct us
              to deliver against payment, may be delivered by us to the
              party designat~d in such instructions against delivery to us
              of the temporary receipt of such· party in lieu of actual
              payment.   We shall hold such temporary receipt until final
              payment is received or ,the securities are returned ·to us for
              your Account.    We agree to make all such deliveries. in
              accordance with operating procedures agreed upon from time to
              time by you and us.


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                     (f)  With  respect  to   any   directions   to  receive
               securities at our account at another securities intermediary,
               we shall have no duty or responsibility, except upon special
               request, to advise you of non-receipt of, or take any steps
               to obtain delivery of, securities from brokers or other
               agents or other securities intermediaries either against
               payment or free of payment.      It is understood that· the
               Federal Reserve System or. any depository used pursuant to
               this Agreement is not our agent and We are not· responsible
               for any error made or loss caused by them or their employees
               Or agents.

               5.    Loans and Advances.·

              We may, solely at our discretion, permit you to use funds
        credited to the Account prior to final payment as contemplated.by·
        the second sentence of Section 4 (d) hereof or otherwise advance.
        funds to you prior to final payment. .I£ we do permit you to lise,
        or otherwise advance to you, such funds, you shall· continue to
        bear ·the risk of non-receipt of fin·al payment, and,. ·to the extent
        that· final payment for any securi ties delivered on. any day is not
        received by the close of business on that day, you shall
        immediately upon demand reimburse us for the amount: so used or
        advanced, plus interest thereon from that date at such reasonable
        rates as shall be determined by us.      We are. further authorized,
        with the receipt of instructions from you, to make other loans to
        you of either money or securities.·       In the event any Account
        maintained by you with us becomes overdrawn, we shall have the.
        right, solely at our discretion, to lend you an amount equivalent
        to cover such overdraft.        All loans, whether of money or
        securities, shall be payable. on demand and shall bear interest at
        such    reasonable  rates  as   shall   be. determined.· by    us.
        Notwithstanding the fact that we may from time. to time. make
        advances or loans pursuant to this paragraph or otherwise extend
        credit to you, whether or not as a regular pattern; we may a,t any
        time decline to extend such credit at our discretion, with notice
        and if we are precluded from extending such credit as a result of
        any law, regulation or applicable ruling.

              6.     Listing of Securities.

                   (a) Business Records.    We will make available to you,
              in accordance with the Performance Standards, as set forth in
              Schedule A, a daily listing of all securities held by us free
              or as collateral to secure any loans or advances· of money or
              securities made by us to you. All listings supplied by us to
              you shall be conclusively presumed correct unless you notify
              us to the contrary by the close of business of the next
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               business day, except that this provision shall not apply in
               the event (i) there is a communications failure between you
               and us, or (ii) both parties hereto have made an error which
               delays discovery of such error.    We shall maintain regular
               business records documenting all instructions transmitted to.
               us in· accordance with the terms of Section 7 hereof (or,
               where applicable, Section 8 hereof) and any response by us·.
               Such records shall be determinative of the form, content and
               time of all of your instructions and any response from us.
               The record of each instruction and any response thereto shall
               be retained by us for at least 45 days following the date of,
               the instruction.     Any claim against us for failure to
               properly follow an instruction transmitted by you. must be
               made in writing and received by us within 45 days after the
               date the instruction was received by us.

                     (b) Equipment. You shall·make all site preparations
               and provide all facilities on your premises necessary to
               connect your computer system to Our computer system. In this
               regard, you shall use. the equipment, communications lines and
               communications protocol identified in Schedule G. Certain of
               the equipment identified· in Schedule G shall be located on
               our premises and operated by us. We shall be responsible for
               the preparation of our own site and for the. use of the
               communications protocol identified in Schedule G.

               7.    Instructions.

              Other than as specifically set forth herein, you and we have
        agreed to act in accordance with· and comply strictly with the
        Performan.ce .standards set forth in schedule A hereto (the
        "Performance Standards  lT
                                   and .security procedures and to act upon
                                     ,)


        any instructions given in accordance t'herewi th. You have
        authorized us to .accept instructions from you via the following
        means: (i) CPO, (ii) your on-line terminal, (iii) OUr on-line
        terminal, . (iv) magnetic tape, (v)· telephoner and (vi) rnessenger or
        fax; provided, however, ·that we shall only accept instructions via
        method (iii) above if we mutually agree that methods (i) and (ii)
        are not available r we shall only accept instructions via method
        (iv) above if we mutually agree that methods (i), (.ii) and (iii)
        are not available, via (v) or (vi) provided (i), (ii), (iii) and
        (iv) are not available. Such instructions, other than telephone,
        messenger, or fax instructions, may be transmitted without two
        manual signatures of authorized individuals, as set forth un
        Schedule F hereto (each an "Authorized Individual"). We hereby
        agree to act upon, execute and perform, and shall be protected in
        acting upon, any instruction or request (written! electronic or
        oral) and any notice, waiver, consent, receipt or other document
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        which we believe in good faith to be genuine and to have been.·
        given by an Authorized Individual in accordance herewith and with
        the Performance Standards and security procedures, as applicable.
        When instructions are given orally orin writing, we will confirm
        these instructions before acting on said instructions with a
        representative designated by you as a confirming representative on
        Schedule F hereto (each a "Confirming Representative") . I n
        addition, you will confirm any oral instru<'::tions to us in -writing
        with two authorized signers or electronically by the close of
        business on the day on which they are given. The oral
        instructions as understood by us will be deemed to be the
        controlling and such proper instructions, unless you are able to
        show such instructions were misunderstood by us. rfwe·receive a
        subsequent conflicting written or electronic instruction, we shall
        be able to rely on the oral instruction as understood by·us and we
        will notify you promptly. When instructions are received vi~
        magnetic tape, the magnetic tape is to be delivered to ·a vice·
        president Or higher in our Dealer's Clearance department as listed
        on Schedule C/ we will confirm receipt of such tape with a
        Confirming Representative before acting on the instructions·
        contained therein.

               If you comply with the provisions of this Agreement and the
         documentation referred to herein relating to delivery of
         instructions r we guarantee delivery. of Securities .with respect to
         each trade to which your instructions relate to within two minutes
         after which instructions have been delivered and received for the
        .AccQunt. If we fail to properly complete a delivery as· provided
         in· this Section or in the Performance Standards after receiving
        proper and timely instructions therein, we shall extend to you an
        interest free overnight loan if, as a result of such failure, you
        elect to finance the Securities. ·The principal amount· of such
        loan shall be less than or equal to the full net dollar .amount
        that you would have recei vedfrom your counterparty if del,ivery
        had occurred on the related trade.

              Notwithstanding the foregoing paragraph, to benefit from the
        guaranties contained in this Section and the Performance
        Standards, computer instructions .must be completed on each
        settlement day no later than two minutes prior to the established
        deadline of the book-entry wire system maintained by the Federal
        Reserve Bank of New York for that:settlement day .

             .In the event of any dispute between or conflicting claims by
        you and any other person or persons with respect to the securities
        and other property credited to or deposited in the Account, we
        shall be entitled, in our best jUdgement, at our option, to refuse
        to comply with any·and all claims, demands or instructions with
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          respect to such securities and other property so long as such
         dispute or conflict shall continue, and we shall not be or become
         liable in any way for our reasonable failure or refusal·to comply
         with such conflicting claims, demands or instructions. We shall
         be entitled to refuse to act until either .(i) such conflicting or
         adverse claims or demands shall have been (A) finally determined
         in a court of competent jurisdiction or (B) settled by agreement
         between the conflicting parties and we shall have received
         evidence in writing, satisfactory to us of such agreement, .or (ii)
         \ve shall have received secur.ity 01.' an indenmity satisfactory to us
          (from a party whose creditworthiness is satisfactory to us)
         sufficient to keep us harmless against any and all loss, liability
         or reasonable expense which we may incur by reason of·our acting;
         provided however, that to the extent we are not prohibited by law
         or court order, we shalL allow· you to substitute cash or other
         securities.for the securities with respect to which there is a·
         confl~ct.

               8.    Remote Clearance.

                     (a)  Where   applicable,.   in   addition   to    giving
               instructions as provided in the Agreement, you may give -us
               instructions by inputting instructions directly via a remote
               terminal located on your premises linked to our premises
                ("Remote Clearance"). Remote Clearance shall be made only in
               conformity with any operating manual as supplemented by the
               Performance Standards and security procedures. Subj ect - to
               prior consent from you with respect to changes relating to-
               the Performance-Standards and security prooedures, we reserve
               the right to prescribe, and make changes in, rules ·.of
               operation,. accessibility periods, authentication procedures,
               type· of terminal equipment, type of system equipment and
               system programming with respect to Remote Clearance· as. we
               deem necessary and appropriate.      Fees relating to Remote
               Clearance may be set forth on Schedule D hereto, which may be.
               changed prospectively frOm time to time upon 30 days'· advance
               notice from us to you_

                    (b) . Equipment.. Th~ remote terminal· shall be provided
              at your expense and must be· compatible with our system.   You
              shall be solely liable for maintenance of such terminal and
              for any ·interruption· of Remote Clearance due to any problem
              associated with the terminal not caused solely and directly
              by us or within our control.      Additional terminals may be
              added only upon our prior written consent.

                      (c) - Training and Manuals. We shall provide training
              on    the Remote Clearance system as we detenhine to be
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               necessary.  We shall provide to you an operating manual and
               notify you of any changes thereto.

                     (d)   Instructions.

                           (i)  In order to complete same-day settlements, we.
                     must· receive timely Remote Clearance instructions· in·
                     accordance wi ththe Performance Standards on the date
                     of settlement.

                           (ii) It is your c)bligation and responsibility of
                     all the parties hereto to complete all instructions in
                     accordance with the procedures prescribed by· us from·
                     time to time concerning information required, manner of
                     delivery and timeliness of delivery.

                         (iii) It is your obligation and responsibility to
                     maintain a backup copy of all instructions given to us
                     via Remote Clearance during the preceding 24 hours ·and
                     to deliver such copies to us promptly upon OUr request.

                           (iv) In the event we are unable to effect any
                     instruction    via   Remote   Clearance,   we  shall    be
                     authorized to receive such instruction via al ter::nate
                     means, in accordance with Section 7 hereof including
                     without    limitation,  t.elephone,  telecopy,  o r · hand
                     delivery, as may be specified by us as suitable under
                     the circumstances.·

                            (v) The ·security procedure for instructions
                      issued to you via CPU link is encryption. To verify
                      the authenticity of instructions issued via CPU link,
                      we shall decrypt .instructions issued to us in your name
                    . using encryption.equipment to be located On our
                      premises and identified in Schedule G, which shall be
                      paired with encryption equipment to be located on your
                      premises and identified in Schedule G. The parties
                      agree that encryption is a commercially reasonable
                      security procedure. We will not execute instructions
                      received via CPU link which are not encrypted.and
                      decrypted as described herein unless approved·in
                      writing by two Confirming Representatives.   You Shall
                      be responsible for access to and the security of your
                      computer system and your transmission facilities. We
                      shall be responsible for access to and the security· of
                      our computer system and our transmission facilities.



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                           (vi) We shall take such reasonable precautions as
                     we deem appropriate to prevent the loss, destruction or
                     improper access to your information and data
                     transmitted via Remote Clearance in accordance with the
                     security procedures listed on Schedule H hereto (the
                     ~Security Proc~dures").   The parties agree that the
                     Security Procedures are commercially reasonable
                     security procedures. You assume the entire risk and
                     re~ponsibility for the fraudulent or unauthorized use·
                     of the hardware and the software on your premises, and
                     you shall implement such security devices and lor
                     procedures, as you deem necessary and appropriate. We
                     may rely upon the genuineness of all information and
                     data communicated to us over the Remote Clearance
                     system and our records, kept in the normal course of
                     business, shall be final and conclusive with respect to
                     all matters involving such information and data
                     provided we have acted in good faith and without
                     negligence and in compliance with the Security
                     Procedures.

                          (vii)  The security procedure with respect to
                     magnetic tape, oral and written instructions are as set
                     forth in Section 7 hereof.   The parties agree that the
                     procedures in Schedule Hare corrnuercially reasonable
                     security procedures.

                    (e)  £onfidentiality  and   Non-Disclosure. Except   as
              required by applicable law,     regulations or judicial or
              regulatory process, each of the parties hereto shall exercise
              reasonable care ·to, hold in confidence and not use for its
              own benefit or disclose to third parties information which is
              obtained or received by one .of us from the other and which
              such party has reason to know is confidential .or proprietary
              to the other,· each party agreeing to use a standard of care
              at least equal to .the Care used to protect its OWn
              confidential information. It is· agreed that all information_
              pertaining to the performance or evaluation of Remote
              Clearance· is confidential and proprietary to us, including
              without   limitation  any manuals     or other   training  or
              descriptive material supplied to you.

        9.    Tri-Party Custodian Services.

             Subject to the terms'and conditions hereof and effective.on·
        the conversion date, you hereby appoint and we agree to act·as
        non-exclusive custodian with respect to your tri-party custody
        transactions. We agree to perform the services as set forth in
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        the form of tri-party custody agreement. attached hereto as·Exhibit
        A. .( or
              other forms of tri -party Custody Agreement which may be
        agreed upon from time to time) and act in accordance with and
        strictly comply with the performance standards set forth on
        Schedule B hereto. We, as non":':'exclusive tri-party custodian,
        shall accept from you any securities permitted under the·terms of
        the relevanttri-party custody agreement, which securities may·
        include physical securities and securities held at the Federal
        Reserve Bank of New York, DTC, PTC, First Chicago Clearing Center,
        and any other depository or clearing corporat·ion as we may
        mutually agree upon.· With respect totri-party custody
        agreements; we are ·authorized to accept instructions ·from you via
        the means set forth in section. 7 hereof, without regard to.the
        priority of means itemized therein, and without having to contact
        a Confirming Representative.

           We hereby agree· to enter into tri-party custody agreements
        substantially in the form Qf Exhibit A hereto with such of your
        customers which do not have existing tri-party custody contracts
        in furtherance of their respective obligations hereunder, subject
        to such modifications as w~ may mutually agreed upon.

           Notwithstanding anything herein to the contrary, to the· extent
        of any conflict between this Agreement and any tri-party custody
        agreement, whether now or hereafter existing, the terms of the
        tri-party custody agreement will govern.

               10 _   Representations and Warranties·,

               You represent and warrant that (a) upon our making any
         advance with .respect to any securities delivered to us for your
         Account (i) you will own such securities free· of any security
         interests, liens, claims and encumbrances (other than the security
         interest granted to us . hereunder) and have ·the right ·to
         hypothecate or re-hypothecate such securities; (ii) a,ny· trans.fer
         of such securities by you: for value is effective. and. rightful;
          (iii) such securities are ·genuine and have not been materially
         altered; (iv): you know of nothing which might impair the validity
         or transferability of such securities; and (v) such securities are
       . freely transferable on the books of the issuer in the· form
         delivered to. us; (b) no delivery of securities by you to us, no
         instruction of yours with respect to such securities and· no loan
         or advance secured by such .securities will contravene Rule 8c-l,
         Rule· 15c2-1 or Ru.l,e 15c3-3 under the Securities Exchange Act ·of
         1934· and a request.by. you to transfer securities from a Segregated
         Account to the Clearing Accounts shall, with· respect to such
         securities, be deemed to be a representation and warranty· to that
         effect;
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         Each of the parties hereto makes the following continuing
         respective representations and warranties:

                 (a) You and we are duly organized and existing under the
                laws of the jurisdiction of our respective organizations with
              . full power and authority to execute and deliver this·
                Agreement and to perform all the duties and obligations to be
                performed by either of us hereunder.

                 (b) This Agreement and the performance of all transactions
              . contemplated hereunder have been duly authorized by you and
                us in accordance with all requisite action. ThisAgreement
                has been duly executed and delivered to you and us and
                constitutes a valid legal and binding obligation of you and
                us, enforceable in accordance with its terms subject to
                applicable bankruptcy, insolvency, and similar laws affecting
                c~editors' rights g~nerally and SUbject,· as to
                enforceability, to general principles of equity regardless of
                whether enforcement is sought iri a proceeding in equity· ·Or at
                law.

               (c) The execution, delivery and performance of the
              ·Agreement by us does not and will not corlflict with or result:
               in a breach,. violation of or constitute a default under any
              agreement, indenture, mortgage or instrument to which we are
              a party or are bound or to which any of Our property is
              subject nor will such. action result in any violation of the
              provisions of our charter or bylaws or any law, rule,
              regulation, judgment, order or decree binding on us.

               (d) No consent approval, authorization or order of, or
               filinq, registration or qualification with, any authority is
               required for· the execution, delivery and performance of the
               Agreement, except for those which· have been obtained or made
               and which continue· to be in full force and etfect.

                (e) You. and we are in material compliance with, and during
               the.term·of this Agreement will remaln .in material compliance
               with, all applicable laws,. rules and regulations of any
               government, governmental agency or self-regulatory
               organization. having authority or jurisdictiQn over you and
              ·us, respectively, or any transaction or other matter which
               may involve our performing services for or extending credit
               to or for you .

              . {f} So long as such securities he1d by Us are not, in fact,
               in a Segregated Account you shall not take any action· with
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                respect to such securities which shall in any way affect our
                security interest therein; (i) you have, and will continue to
                have during the term of this Agreement, the authority to
                engage in and perform the transactions contemplated· by this
                Agreement and with respect to such transactions will. be in
                compliance with all applicable laws, rules and regulations
               . (including but not limited to those of any self-regulatory
                organization having authority or jurisdiction over you}; (ii)
                all credit extended to you hereunder shall be used by you
                solely and exclusively to facilitate the prompt clearance. or
                settlement of the purchase or sale. of readily marketable
                securities, and each such credit shall, at the time such
                credit   is extended,   be  secured by readily marketable
               securities having a market· value· or principal face .:imount
                 (whichever shall be less) of not less than the principal
              . amount ·of such credit, and shal.l, unless payment ·thereof
                shall have previously been demanded in accordance with the
                provisions of Section 5, be repaid upon the settlement of
                such purchase or sale; and

                (g) Custodian shall maintain and provide evidence of
               insurance protection for Lehman property and property of
               Lehman's  customers consisting of. a      Blanket Bond with
               Fidelity,   Premises,  Tr~nsit,   Forgery    and  Counterfeit
               coverage's:   Computer  Crime   coverage   ar1d  Professional
               Liability coverage. .All such insurance shall be in amounts,
               with standard coverage and subject to deductibles, as is
               customary for insurance typically maintained by banks which·
               act as Custodian and in amounts and with insurance companies
              .acceptable to Lehman.

              11.   Liens.

             In consideration 6f any advances or loans we may extend to
        you pursuant to. this Agreement (hereinafter the: "Obligations"),.
        you hereby: .

                  . (a) Grant to uS a continuing security interest in, lien
              upon and right of set-off as to (i) the balance. of every
              existing Or future depositl and account which you, now Or in
              the .future, maintain with us (except for any Segregated
              Account containing customer securities or funds)   all
              securities, securities entitlement,· instruments, financial
              assets and other investment property .. (except for· cUstomer
              securities Or iunds held in.a Segregated Account), now or in
              the future, maintained or held in, or credited or relating
              to, any such securities accounts, Or in which you have any
              right, title or interest that· is in our possession or
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               control; and.all income, profits, collections, distributions
               and other proceeds., (both cash and non~cash and including
               insurance proceeds thereof) replacements and substitutions of
               any   thereof  (all  of   the  foregoing being. hereinafter
               collectively referred to as the "Collateral").      . The term
               "investment property" shall have the meaning set .forth in.
               Section 9-115 of the Uniform Commercial Code as adopted .by
               the State of New York (the "Code"). . The terms securities
               account, securities entitlement and financial assets shall
               have the meanings set forth in Article 8 of the Code.
               ~Financial assets" shall consiSt ~f the property from time to
               time contained in or credited to any of the. Clearing
               Accounts.

                    (b) Agree that if any Obligations 'are outstanding at
              the end of the business day (after Fed wire close), we are
              authorized~ with notice to you, on a best efforts· basis,. to
              carry any Collateral in OUr general account (s) . and to sell,.
              transfer, assign, pledge and re-pledge, and hypothecate and
              re-hypothecate any Collateral separately or together with
              securities ot other property of any other customer(s) (except
              for customer securities held in a Segregated' Account),.
              without retaining in our pos8{-::ssion. or control a like amount
              of similar securities or other property for delivery, to the
              extent peITIlitted by Rule 8c-l, Rule 15c2-1 and Rule l5c:3~3
              under the' Securities Exchange Act of 1934.

                     (c) Agree that if repayment of any advance or loan is
               not made, or i£any deposit relating to an advance or loan 13
               not received by us in accordance with the terms hereof, we
               shall have the rights and remedies of a secured party under
               the Code including the right to $e11 any of the Collateral on
               any securit.ies market, or at public or private sale in a
             .conunercially reasonable manner, which will include notice. to
             . you Or prior tender, demand or call upon you. SUbject to the
               Code, we may purchase. all or any part of the Collateral free
               from any redemption right, but you will remain liable for any
               deficiency, including reasonable brokerage fee commissions.

                    (d) Agre~     that  not~ithstanding .anything   to   the
              contrary contained in this Agreement (i) all securities
              consti tuting . any part of the. Collateral shall be in our
              "possession" and under our "control" pursuant to Section. 8-
              106(e) of the Code, and (ii) we shall not be requirecito act.
              in accordance with your instructions (including r but not
              limited tOr any instruction to transfer a security to or into
              a' Segregated Account or any other account), and we shall not
              be   your   agent    with respect  to   any  financial . asset
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               consti tuting any part of the .collateral unless· and· until we
               have received full and final payment for the Obligations or
               we shall have determined, in our sole reasonable discretion,
               that the payment and performance of your Obligations will be
               adequately secured after giving etfect to such instruction.

                     (e) Agree that nothing contained .in this Section shall
               be deemed to be· inconsistent with, or to deny to us, our
               status as a bona fide purchaser of .all· Or any part of the
               Collateral; and, in addition to whatever rights we may have
               as such a purchaser, and not by way of limitation of such
               rights, we shall have all the rights and remedies of a
               secured party under applicable law.

                     (f) That Chase is your securities intermediary (as such
               term is defined in Article 8 of t.he Code) with· respect to any
               securities accounts that you maintain with us, including·
               without limitation, the Clearing Accounts, that Chase has a
               priority lien over all property maintained in or credited to
               such accounts pursuant to Section 8-106(e) of the Code
               securing the Obligations. Nothing. contained in the Pledge
               and Security Agreements or in any other dqcument or agreement
               between us relating to extensions of credit or our respective
               rights and obligations in respect thereof shall negate, limit
               or impair the security interest automatically granted to·
               Chase, as your "securities intermediary" pursuant to SElction
               9-116·of the Code Or the priority accorded such security
               interest by Section 8-106(e) of the Code.

                     (g) In addition to the rights and remedies provided to
               us pursuant to the Agreement, we shall continue to have all
               rights and remedies otherwise available to us under
               applicable law, including the rights afforded t·o financial
               intermediaries and secured creditors under .the Uniform
               Commercial Code.

               12.   A~tinq   as   Aqen~


             You hereby irrevocably appoint us as your true and lawful·
        agent and attorney-in-fact,· with full pOwer in your· name and on
        your behalf,.· with respect to the execption of all instrUments· and
        the taking of all action necessary or desirable to effectuate the
        rights and remedies provided hereunder and by applic~ble law. We.
        are acting under this Agreement only as agent, and are not·
        responsible or· liable in any way for the. genuineness or validity
        of any security or instrument received, delivered or held by us
        absent groSs and manifest defect apparent on the face of the
        certificate held by us in physical form. Notwithstanding the
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         foregoing, the parties agree that we shall not be deemed to.be
         acting as your agent with respect to executing your payment
         orders.

               13.   Limited Liability.

                Notwithstanding anything to the contrary contained herein, we
          shall not be liable· for any error of judgment or f·or any act done
          or omitted by us in good faith, or for any mistake ·of fact Or laiN,
          except for our own negligence Or willful misconduct or the breach
          of this Agreement for reaSOns other than those stated in this
          Section 13.· without limiting ·the generality of the. foregoing, we
          shall .not be liable for any delay or failure to act as lUay be
          required hereunder (including without limitation, any failure to
          ezecute or resulting "DK's"-) when such delay or failure is due to
          any of the following: an act of God; interruption, malfunction or
          suspension   of    any  communication   or   wire   facilities    Or
          services (other than those under OUr control); labor difficulties;
          acts or omissions of third parties; war:; emergency conditions;
          equipment or mechanical failure (including computer or software·
          failure)   (other than those under OUr       control) ;  delays   or
          processing delays on·the book-entry wire system maintained by the
          Federal Reserve Bank of New York; your failure to perform any of
          your Obligations hereunder, including without limitation, your
          Obligations set forth in.Section 8 (d) (i), (ii) and (iii) hereof;
          or other circumstances beyond our control, provided we el<:ercise.
          such diligence as the circL~stances may reasonably require,
       . provided that Chase Manhattan Bank has used due care and has
          exercised due diligence in anticipating such event and has taken
          all reasonable actions as may be necessary to respond to, correct
         and circumvent the effects o£ such event on Chase Manhattan Bank's
         performance of its duties and responsibilities hereunder.      IN NO
         -EVENT SHALL WE BE. LIABLE FOR SPECIAL, INDIRECT, PUNITIVE OR
         CONSEQUENTIAL DAMAGES, WHETHER OR NOT WE HAVe BEEN ADVISED AS TO
         THE POSSIBILITY THEREOF· AND REGARDLESS OF THE FOP~ OF ACTION.

               14.   No Duty to Investigate or Advise.

              You acknowledge thdt you are,· and will continue to be, solely
        responsible for ·.making your own . independent appraisal of and
        investigatiqn into the financial condition and creditworthiness of
        each person to .whom or for whose account you direct us .. to deliver
        securities, .or to whom you request us to. make payment and· you
        confirm to us that we ar:e under no obligation to you to· assess or
        review the financial condit·ion. or creditworthiness of any such
        person or to advise you as to the results of any such appraisal or
        investigation we.may have conducted on Our own or of· any adverse
        info;rmation concerning· any .such person that may in any way have
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         come to our attention.   Furthermore, you acknowledge that we are
         under no duty to supervise, recornmend or advise you· l.'elative to
         the investment, purchase, ~ale, retention or other disposition of
         any property held hereunder.

               15.   Fees.

              Our fees for services rendered in connection with the service
         provided hereunder are as set forth on Schedule D hereto·and shall
         be invoiced to you to pay such invoice daily, for the prior day~s
         activi ty. You ·agree to pay such invoice by the close of business
         On the day received. 1·n the event we. do not receive payment· in
         i~nediately available funds by the end of day, we are authorized
         to charge your Account, with .the amount of such fees, and if the
         Account does not include sufficient funds to cover the amount of
         such fees, you will pay such amount upon denlarid. All invoices
         shall be conclusively presumed correct unless you notlfyusto the
         contrary, in writing, within 30 days of receipt .of any invoice
         containing a discrepancy.

              ·Our fees for services rendered in connection with the serv~ce·
         provided hereunder are set forth on Schedule D hereto. and may not
         be increased by us during the term of this Agreenent. No other
         compensation or reimbursement of expense shall be payable to us
         except as specifically set forth in this Agreement, other than.
          (i) out of pocket expenses up to $1000 month, incurred by·us in
         connection with the services provided hereunder, and (ii) out of
         pocket expenses that arise from customized or specialized
         services provided to certain customers with the prior written
         approval of two Confirming Repres,entatives except that we may
                                                         i

         charge you for any new or increased external charge (e.g. DTC
         charges) or expense incurred by us in performing this Agreement·..
         We shall notify you in the event of any such· charges or expenses
         promptly after the Same are incurr.ed by us and, to the 8>;tent
         practicable, reasonably ·in advance of the same having been··
         incurred by us. It is understood that such notices shall be one-
         time notices for each type of charge or expense.

               16.   Indemnification.

              Except .where we are negligent or have· engaged in willful
       . misconduct, or have breached this Agreement for reasons other than
         those listed in Section ·12 hereof, you will indernnify·us and hold
         us harmless against any and. all losses, claims, damages,
         liabilities or actions to which we may become sUbject, ·and
         reimburse us for any· expenses (including reasonable attorneys'
         fees and expenses) incurred by us in connection therewith, insofar
         as such losses, claims, damages, liabilities or actions. arise out
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         of or are based upon Or are in any way related to this Agreement •.
         Without limiting the generality of the foregoing indemnification,
         we . shall be indemnified for all reasonable costs and expenses,
         including reasonable attorneys I fees, for our successful ·defense·
         against claims by you that we were       negligent or engaged in·
         willful misconduct. This indemnification obligation shall survive
         the termination of this Agreement.

         We shall be responsible for performing the services as provided
         herein. We shall be liable ·to .you for direct damages sustained by
         you to the extEmt such damages· result from our negligence or
         malfeasance or our breach of·· any representations,· warranties ·or
         agreements contained in this· Agreement· for reasons other than set
         forth· in Section   13 hereof, including the terms of any Schedule
       . for Exhibit of failure of Our equipment or s.oftware.      Except· as.
         otherwise expressly provided herein, ~e shall not be liable to. you
         or any third person for. any loss, expense or damage suffered by
         reason of delay.or other interruption ~n receiving. Securities· or
         monies through the Federal Reserve's Book Entry or Wire System or
         from any clearing agent, issuer, broker, dealer or other third
         party.   We shall ·not be liable for failures to execute or. "DK' s"
         due to incorrect, incomplete or untimely instructions or any other
         failure of you to provide. proper instructions,. as required by.this
         Agreement.

               17.   Termination.

              The initial teLLU of this Agreement shall comnlence on the date
         hereof and shall end on October 7, 2002.    If, by the expiration· of
         the initial term the parties have not entered· into .a written·
         agreement extending this Agreement for an additional term, this·
         Agreement shall bede~ned automatically renewed for an additional·
         one year period on the terms and conditions hereof and for the
         fees set forth herein.      Notwithstanding the .foregoing,· in ·the
         event that we cease to pe:cform the services which are the. subject
         matter of this Agreement for substantially all of· our customers,
         we may terminate ·this Agreement, provided that we have given you
         written notice of such termination at least 12 months prior to the
         effective date of termination. Notwithstanding the foregoing, (i)
         this Agreement may. be terminated by either party, as the Case may
         be, upon written notice if the other·. files an application for, or
         consents t·o, the appointment of any receiver, trustee,. cust·odian,
         liquidator or similar person for all or any portion of its
         property,   files a petition seeking. a reorganization of its
       . financial    affairs  or   taking  advantage    of. any   bankruptcy
         reorganization, insolvency, readjustment or debt, dissolution or
         liquidation law or· statute, ·orif .it takes any corporate ·action
         for the purpose of effecting any of the foregoing,         (ii) this·
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        Agreement may be· terminated by either party by written notice to
        the other if such other party has failed ·to comply with any
        material provision of this Agreement which failure shall continue
        for (30) days after notice of such failure is delive.red by the
        non-breaching party to the breaching party, but only .if the sarne
        has not been.cured in all material respects, (iii) this.Agreement
        may be terminated by either party by written notice to the other
        party if any representation or warranty made in this Agreement by
        such other party shall have proven to have been at the time made,
        false or misleading in any material respect, and (iv) this
        Agreement may be terminated by you upon thirty (30) d,3.ys written
        notice to us in the event we charge you for any new or increased
        external charge. or expense as permitted herein and you reasonably
        believe such charge to be excessive, unless we rescind such ·charge
        upon written notice to you prior to the expiration of such thirty
        (30) day period.

             Upon termination of th.is Agreement and provided that· all the
        Obligations have been paid in full; we shall transfer the
        Collateral and other property in the Account as follows:

                    . (a) If not less ·than five (5) calendar days' prior to
               the termination date, you shall have given us written
               instructions   for the delivery of such securities and
               property, including instruction regarding method of delivery
               and destination then in accordance with such instructions; .

                      (b)  If no such instructions have been given by you,
                then on the termination date, with respect to physical
                securities,· we shall deliver such physical securities and
                other property to you at the address. provided below, by
             . armored car at your reasonable expense, and we may obtain
              . special insurance policies coverineJ such deliverie.s and you
                will upon demand reimburse us for all reasonable premiums
                payable for    such policies.      With respect to Fedwire·
                book-entry securities, we may establish a custody account and
                hold such securities iri escrow for the benefit of and. at your
                expense. Any and all cash may be delivered by Fed wire.

              18.   Reports and Certificates.

                    (a) Unless otherwise instructed by you in writing, we
              may·assume that we are exempt from filing on your ·behalf.any
              certificates of ownership or other reports which are, or may
              hereafter be, required by any regulation of the· Internal
              Revenue Service or other authority of the United States, so
              far as the same are required in connection with any property.
              which now or may hereafter be in our possession hereunder.
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               In the event that we are requested to prepare such reports,
               your status is to be described as a bank," trust . company,
               financial   institution,  insurance  company,   corporation,
               partnership or otherwise as the case may be.   Yoti agree to
               notify us immediately in writing of any change in such
               status.

                    (b)  Whenever it becomes advisable to do so, we are
               authorized to exchange temporary for de±lnitive certificates,
               and old. certificates for new or overstamped certificates
               evidencing a change therein.

               19.   Notice.

             All   notices .or other communications. required 'by this
        Agreement to be in writing shall be sufficiently given if mailed
        by registered mail, postage prepaid, or delivered:
                    (a)  to us at 4 New York Plaza, New York, New York
               10004-2477,  Attention:  Brokers  and  Dealers . Clearance
               Department,

                      (b) to yo~ at Lehman Brothers, 101 Hudson Street, 31st
              floor, Treasury Operations, ,Jersey City, New Jersey 07302,
              .At tention: Kathryn Bopp Flynn, Senior Vice President or .to
              any other address or addresses of which written notice shall
              have been given in the foregoing manner by the respective
              parties.

              20.    Assignments.

             ·This Agreement may not be assigned by either party hereto
        without the prior written consent of the. other.

              21.    Captions.

             The captions of the various sections and subsections. of this
        AgreemeDt have been inserted only for the purposes of convenience,
        and shall not be deemed in any manner to modify, explain, enlarge
        or restrict any of the provisions of this Agreement~

              22.    Entire Agreement.

             This Agreement. together with the Credit Letter. among the
        parties hereto, and the Funds·Transfer Agreement among'the parties
        hereto, contains the f'ina1, complete and exclusive understanding
        of, and supersedes all .prior or contemporaneous, oral or written,
        agreements,   understandings,  representations   and  negotiations
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         -betl,Jeen the parties relating to the subject matter of . this
         Agreement.    No amendment of any provision of this Agreement shall
         be enforceable against us. lmless in writing and signed· by one of
         our authorized officers. Notwithstanding th~ foregoing, Schedule F
         may only be amended in writing executed by two individuals listed
         as Confirming Representatives on the Schedule F in effectd±rectly
         before any such amendment.    In the event of any conflict between
         this Agreement and any confirmation,        instruction,  custodian
         agreement or any other agreement between the· parties,         this
         Agreement shall controlexcept as set forth in Section 8 hereof.

                23.   S~verability.

              If any provision of this Agreement shall be unenforceable,
         illegal or invalid, it shall not. affect the validity of the
         remaining provisions of this ·Agreement.

                24.   Governing Law.

              this Agreement    shall be construed and interpreted in·
         accordance with the internal laws of the State of New York without
         giving effect to the conflict of law principles thereof.


                                        Very.          ours,

                                        The                         Bank

                                        By:
                                                       ANTHONY fSOLA
                                                       VICE Pt<u:::;::.1.0Etllf


                                        Dated: _ _    t£-¢a
                                                     ---""'+-'O-,~~~_--_---
                                                       7 .
        AGREED AND ACCEPTED:




        Dated
               -~--~~.l-f'-o-=--=---------

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                                  POTIn afTri.Party Cu.,>tody Agreement

                                            SCHEDULE A
                                    Clearance Performance Standards

                                            SCBEDOLEB
                                    Tri-Party Performance Standards

                                            SCHEDULEC
                                     Dealers Clearance Contact List

                                            SCHEDULED
                                                 Fees

                                            SCHEDULEE
                                      List of Segregated Accounts

                                            SCHEDULEF
                                   List ofAuthorized Individuals and
                                      Confmning Representatives

                                            SCHEDULEG
                                              Equipment

                                            SCHEDULER
                                          Security Procedures




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                                                                EXHIBIT A

                                          CUSTODIAL UNDEIHAIaNG IN CONNECTION
                                           WITH MASTER REPURCHASE AGR£EMENT

          Reference is made to the Master Repurchase Agreement (the "Rcpurchase Agreement") between Seller and Buyer, as
     each arc defined 011 the signature page hereto.

           With respect to individual transactions, this Agreement shall only apply to the Lehman entity, i.e. Lehman Brothers Inc.
     or Lehm..'l.n Commercial Paper lnc., identified ill Lehman's instructions, as provided herein.

          Seller and Buyer hereby appoint The Chase Manhattan Bank ("Bank") as non-exclusive custodian, and Bank hereby
    agrees to aei as non-exclusive custodian in connection with Repnrchas.e Transactions described in thc Repurchase Agreement,
    pursuant to the tenns hereof. Accordingly, Bank hereby at,rrees with Seller and Buyer as follows:

           1.     Definitions.

            (a)   Addit.ional Purchased Securities. Securities providcd by Seller and held by Bank for the benefit of Buyer to
     satisfY a Maxgin Deficit.

           (b)    Business Day_ Any day, from Monday through Friday, when Bank and Seller are open to transact business.

           (c)       Income. With respect to any Security at any time, any principal thereofthcn payable and all interest, dividends
    Or otht.'T distributio.tls thereon.

         (d)    Margin Deficit. The amoUIit by which the aggregate Margin Value of all Flu-chased Securities and Additional
    Purchased Securities held with respect to all Repurchase Transactions is less than the then aggregate Purchase Price.

         .:(e)  Margin Excess. The amO\lnt by which tl1e aggregate Margin Value of Purchased Secmities and Additional
    Purchased Secllrities held with respect to all Repurchase Transactions shall cxceed the then aggregate Purchase Price.

         (f)      Margin Percentag~. With rcspect to each Security, the percentage set forth On Schedule        t opposite each such
    Security in the column headed "Margin Percentage."

         (g)      Margin Value. With respect to any Repurchase Transaction, the number obtained by dividing the aggregate
    Market Value of each Security by the applicable Margin Percentage then adding accmed interest, except in the case of those
    Securities that are, in thc normal course of business, traded withollt accrued interest, and aggregating such a,nounts. Such
    Margin Value of Securities shall equal Or exceed the Purchase Price to be paid by Buyer as provided in Sl;lUer's instmctions.

          (h)    Market Value. The "bid" price for any Securities as quoted by a recognized pricing service as of the close of
    business On (he immediately preceding Business Day. If a price as of the close of business is not available, Bank shall be .
    authorized to use the most current price mfonnation provided by any recognized pricing service. If no price is available, Bank
    shall be authorized to price any Security by contacting any dealer designated as a "ptimary dealer" by the Federal Reserve
    Bank of New Yark (ltFRBNYlt) and relying upon any price quoted by such "primary dealer:' as if it were quoted by a
    recognized pricing service. Banker's acceptances, commercial paper, certificates of deposit and cash shall be valued at face
    value.

          (i)     Purchase Date. The date 011 which Purchased Securities are sold to Buyer by Seller.

          (j)     Purchase Price. The price at which Purchased Securities are sold to Buyer by Seller.

          (k)     PUTcha.<;ed Securities. The Securities sold by Seller to Buyer as set forth in the instructions from Seller to Bank.
          (I)     Repurchase Date_ The date on which Seller is to repurchase the Purchased Securities from BuyeT, which date


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     shall be the next Business Day after the Purchase Date unless otherwise specified herein.

           (m)     Repurchase Price.. The price at which Purchased Securities an;: to be repurchased o~ the Repurchase Date.

         (n)     Repurchase Transaction. A trnnsaction whereby Seller sells certain securities .to Buyer,. subject to Bnyer's
    agreement to resell such securities to Seller at a future date at a statcd pricc plus intercst.

           (0)     Securities. Securities identified on Schedule 1 attached hereto. Securities shall al""ays include cash.

          2.      Maintenance of AccQunts. (a) Seller and Buyer hereby instruct Bank, and Bank agrees to establish and maintain
    a cash collateral account and a Securities custodian aCCOllnt for the benefit of Buyer (collectively, tIle "Buyer's Account") and
    a cash account and a Securities custodian account for the benefit of Seller (collectively, the "Seller's Account"). Except as
    specifically provided llerein, Bank shall follow only Seller's instructions with respect to Seller's Account, and shall foHow
    only Buyer's instructions with respect to Buyer's Account.

            (b)       Bank shall segregate and separately account on its books and rccords for all securities held for Buyer, from assets
    it l10ld<; fm'. its OWll account. Ba))k shall nlaintain and safekeep Purchased Secudties and Additional Purchased Securities held
    for Buyer in Buyer's Account until (i) it shall receive Buyer's iustmctions to deliver or transfer to Buyer Purchased Securities
    and Additional Purchased Securities, which instrtlctions shall not conflict with any other provision of this Agreement; (ii)
    Seller shall substitute Sccuritics (including cash) provided such Securities have a Margin Value equal Or greater than that of
    the substituted Securities; (iii) Barik shall deliver Purchased Securities and Additional Purchased Securities to Seller as
    provided in this Agreement; 0, (iv) this Agreement is temlinated.

         (c)      Buyer's Account, including Pllrchased Securities, Additional Purchased Securities. and cash therein, shall not be
    subject to any security interest, lien or right of setoff by Bank, or any third party c1ainllilg through Bank.

           3.     Valuation of Purchased Securities and.AdditiOl)al Purchased Secudties. At the Openi)lg of each Bushless
    Day, with respect to Paragraph 4(d) Repurchase Transactiol1S, Ballk shall detet'tl:llne the then Margin Value, as deftned herein,
    of all.Purchased Securities and Additional Purchased Securities held in Buyer's Account.

          4.     Specific Repurchase 'l'ransactions_ (3.) Upon receipt of instructions from Seller specifying the Seller entity
    involved in the Repurchase Transaction, Purchased Securiti.es, Purchase Price and Purchase Date, Bank shall on the Purchase
    Date, debit Buyer's Account in. an amount equal to the Purchase Price a:tld credit the Purchase Price to Seller's Account against
    the sumdtanoous transfer of Pnrch.."ISed Securities in ,In a:rnoUnt eqlial to or greater thart the Margin Vahle from Beller's
    Accolmt to Buyer's Account. Upon receipt of instructions from Sdlt:r, Bank shall, on the Repurchase Date, transfer the
    Purchased Securities and any Additional Purchased Securities and/or cash from Buyer's Account to Seller's Account agaill.st
    the simultaneous credit of immediately availableftmds in an amount specified by Seller to Buyer's Account and the dej:>it. of
    such amount fi:om Seller's Account.

          (b)       If Bank is unable to comply with the tCTIUS of Section 4(a) above becausc Seller or Buyer has t'i3.ikd to credit
    sufficient ca.<;h or Securities to Sellers Account or Buyer's Account, a.~ applicable, Bank shall promptly notify Sellel-and awajt
    modj.ucation of Seller's instructions or the receipt of further cash 01," Securities as Seller shall direct. If Raul< has not received
    modified instrnctions from Seller Or cash prior to the close of the FRBNY's funds transfer wire or additional Securities, Buyer
    and Seller hereby irrcvocably agree and instruct Bank as follows: (i) On a Purchase Date, if the cash balance in Buyer's
    Account shall be les.." than the Purchase Price, the ca."h balance shaH be deemed to be the Purchase Price; (it) on a Purchase
    Date, if the Margin. Value of Securities in Seller's Account is less than the Purchase Price, Bank shall disburse to Seller .cash
    from Buyer's Account in an amOunt equal to the Margin Value of Secunties available for transfer to Buyer's Accollnt and the
    remaining cash shall be held in Buyer's Account by Ba11k and shall be designated cash held in substitutioJ1 for Purchased
    Securities; (iii) on a Repurchase Date, if Seller's Account does not contain sufficient. cash available to repurchase all
    Purchased Securities in Buycr's Account with respect to any Repurchase Transaction, Bank shall immediately notify Seller and
    Seller shan give Bank instwction identifying which; if any, Purcllased Securities are to be repurchased and the applicable
    portion of the Purchase Price.

          (c)     Seller and Buyer may agree that Seller shall be obligated to repufch.:lse the Purchased·Securities On a date other


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    than the BUsiness Day immediately following thc Purchase Date (the "Term Repurchasc Date''). In such event, Seller shan
    notify Bank of its intention to effectuate a Repurchase Transaction with a Teml Repurchase Date_ Bank, upon receipt of such
    instruction, shall transfe:r the Securities in accordance with the temJs ofthis Agreement so that on each Business Day following
    the Purchase Date (up to but excluding the Term Repurchase Date), Seller and Buyer shall be deemed to enter into a new
    Repurchase Transaction, On the same tenns as the Repurchase Transaction in effect on the previous Business Day.

           (d)     Notwithstanding the foregoing, Seller may instruct the Bank (i) not to transfer and retransfer between Buyer's
    and Seller's Accounts on each Business Day after the Purchase Date cash represcnting the Purchase Price, and (ii) to hold
    Securities having a Margin Value equal to or greater than the Pnrchase Price III Buye,'s Account until the Term Repurchase
    Date, so that tl)e Term Rcpurch~se·Date is the only Repurchase Datc. If Bank: is so instmcted, Bank shall not release any
    Securities in Buyer's Account to Seller except that Seller shall be pemlitted to (i) substitute Sec\llities of equal or greater
    Margin Value, and (ii) instruct Bank to transfer Securities having a Margin Value equal to the Margin Excess to Seller. In the
    event the Margin Value of the Securities in Buyer's Account is less than the Purch..'lse Price, Bank shall provide Seller with
    notice prior to 12:00 noon, New York City time. On the date of any such notice, Seller shall provide Bank with Additional
    Purchased Securities having a Margin Value equal to such Margin Deficit, so that Bank can transfer such Additional Purchased
    Securities to Buyer's Account by the end of the day. If Seller fails to transfer an apt:lIopriate amount of Additional Purchased
    Set~U1'ities on the date of notice of a Margin Deficit; Bank shall notify Buyer and Seller and await further instructions from
    Seller.                                                                                                                    •

           5.      Income. Bank shall credit to Seller's Account alllncome paid by or on behalf of issuers in respect of Purchased
   . Securities and Additional Purchased Securities in the event that any such amounts are received by Bank, except in the event
     .Bank is notified by Buyer of an uncured Event of Default .cas defined in the Repurchase AgreemelU) 011 the part of Seller, in
     which event such amounts shall be credited to Buyer's Account.

         6.      Bank's Obligation to Hold Plln:based Securities_ Until the relevant Repurchase Date Or Event of Default
    declared by Buyer as specified in Paragraph 7 hereof, Bank shall hold the Purchased Securities sold pursuant to any
    Repurchase Transaction, togethe( with any Additional Purchased SeCl.lf.ities and/or cash delivered to satisfy the Margin Deficit,
    on behalf of Buyer and Buyer shall not sell, transfer, assign, pledge, or otherwise utilize such Securities or cash (except as
    otherwise agreed to between SeHer and Buyer)-

          7.      :Oefault. If either Buyer or Seller shall decla;re an Event of Dc£mlt under the Repurchase Agreement, it shall
    deliver a notice of aJ) Event of Default to Bank. .Bank shall notify the defaulting party of the receipt of a notice of an Evel)t of
    Defalut but shall have no further obligation or duty to inquire into the n,ature or validity of the Event ofDefault set foith iJJ the
    notice of an Bvent ofDefault. At any time that Bank has received a notice of an Event ofDefault from Buyer, Bank is hereby
    instructed to (i) cease transferring Securities to Buyer's Account except that Bank shall accept into Buyer's Accotmt cash in
    substitution of any Securities therein provided such cash has a Margin Value equal to Or greater than that of the substituted
    Securities notwithstanding aJ)y other provision to the cont:r-<uy coutained herein and (ii) follow .Buyer's imtroctions with
    respect to the SeGUrities in Buyer's AccOlmt. At any time that Bank has received a notice of an Event of Default from Seller,
    Bank shall follow Seller's .iustmctions to accept into Buyer's account easb in substitution of any Securities therein provided
    such cash has a Margin Value equal Of greater than that of the substituted Securities notwithstanding any other provision to the
    contrary contained herein.

          oS.     Daily· Statement to Seller and Buyer. Each Business Day on whieh there is an outstanding Repurchase
    Tral1.,~action,
                  Bank shall provide Buyer and SeHer with an infonnation statement reflecting the Seller entity and cash and
    Purchased Securities and Additional Purchased Securities positions in B·uyer's Account Buyer and Seller shall promptly
    review all such infommtion statements and shall promptly advise BaDk of any error, omission., Or.· In..'l.ccuracy in the cash or
    Purchased securities or Additional Purchased Securities positions reported. Bank shall undertake to correct fitly errors,
    failures, or omissioJ:ls that are reported to Bank by Buyer or Seller. Any such corrections shall be reflected on subsequent
    information statements.

          9.          Care ()f Pr()perty; Reliance on Instmctions; and Pricing of Securities.

        (a)     Bank shall exercise reasonable care ofa Bank custodian with respect to property in Seller's Account and Buyer's
    Account and with respect to its other obligations pllISUlint to this Agreement. BaDk assumes responsibility for loss to any such


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    property of Seller Or Buyer occasioned by the negligence of, or conversion, misappropriation or theft by Bank Or Bank's
    employees, contractors, agents, correspondent banks, subcustodians, or affiliates, it being understood that the FRBNY, The
    Depository Trust Company (nDTe") ·and The Participants Trust Company ("PTe"), and any other cleariug corpo:ration is not
    the Bank's subcustodian o( agent Notwithstanding anyfuiug to the contrary contained in this Agreement, in no event shall the
    Bank be liable for special, consequential, or indirect damages even if the Bank is advised as to the possibility thereof. Bank, at
    its option, may insmc itself against loss from any caUSe but shall be under no obligation to obtain insurance directly tor the
    benefit of either Seller or Buyer.

          (b)     Bank, at any time, without any resulting liability to it, may act h~'TGunder in reliance upon any instructions Bailie
    believes to be genuine; provided, however, that all instructions to Bank from Buyer shall be by a signed writiJ..1.g (via teTecopy,
    or otherwise), by electronic communication Or oral com.mu~lication, including the code which may be assigned by Bank to
    Buyer from timc to time. With respect to instructions from Seller, Bank shall follow the procedures set forth in the Clearance
    Agreement between Seller and Bank...

          (c)    Until written notice to Bank by Buyer to the cOlltrary, the persons listed on Schedule 2 hereto shall·be authorized
    to act on behalf of Buyer, anyone of whom shall have authority to purchase, sell,. give notices and othenvise· act under this
    Agreement on behalf of Buyer-

         (d)    Bank may rely upon a recognized pricing service in determining the Market Value l)fthe Pmchased Securities
    and Additional Purchased Securities, and shall in no circumstances be liable for any errorS made by such service.

         (e)     All c<1.5h payments herctmder shall be in Fed Funds and shall·be received by Bank prior to 12;00 noon New York
    time On the date due, All transfersof Securities and cash between the Buyer and the Bank shall be made to the accounts listed
    on Schedule 2 hereto, unless othenvise agreed between the Bank and Buycr- All credits, debits or transfers shall be deemed to
    have been completed at such time as recorded on B:mk.'s books,

          (t)     Ban.k undertakes to perform only such duties as arc expressly set fonh iu this AgreemcnL

           (g)     Buyer and Seller authorize Bank to lltilize agents, subcustodians, depositories, correspoIldent banks and affIliates
    to pl"OCeSS Repurchase Transactions and to hold cash Or Securities, ·and to use any other means legally available to it for the
    retention, processing or maintenance of cash or Securities.. Transfer of Securities to Bank hereunder may be accomplished by
    crediting the <lCCOUllt of Bank with the FRBNY, pledging the securities to the Bank at PTe or DTC, Or any other clearing
    corporation meeting the requirements of this Paragraph as the case may be, Or by deHvelY of physical certificates to Bank ir~
    negotiable form. Seller and Buyer agree that Bank's use of the FRBNY, PTC, DTC or any other clearing corporation in
    comlec.tiol1 with the Reptrrchase Transactions contl:;mplated under this Agreement is authorized and shall fully com.ply with an
    terms a.nd conditions of this Agreement regarding Bank's transfer and custody of such Securities. Buyer and Seller
    acknowledge and understand that all transfers of Securities by the FRBNY, PTC, DTC or auy other clearing corporation are
    subject t,) the then applicable rules an.d procedures of the FRBNY, PTC, DTC or other clearing corporation, as applicable.
    Notwithstanding anything to the contrary contained herein, Bank shall be authorized, in its reasonable discretion, to accept a
    trust receipt from any financial intenuediary, as a Security.

          (h)     Bank may rely upon a recognized credit rating service to verify credit ratings of Purchased Secnrities and
    Additional Purchased Securities and shall in no circnmstances be liable for any errOrS made by this SeJ:Vice_ . In thc event that
    Battle is unable to verify such ratings in accordance with this Su:bparagraph (h), Bimk shall rely upon Seller to obtain such
    ratings.

         10.     Compensation. Seller hereby agrees to pay Bank compensation for the services to be reJ:ldered hereunder, based
    upon rates ag(eed to between Seller and Banle

         11.     Indemnification. Buyer and Seller hereby agree, jointly and severally, to indemnify Bank for, and hold it
   harmless from. and against, any loss, liability or expense in c01lIJ.ection with, arising out of or in any way related to the
   transactions contemplated and relationship established by this Agreement, Or any action or omission by BlIIIk in cl)nnection
   with this Agreement, including the reasonable costs, expenses and attorneys fees of attorneys chosen by :Bank, inClIITed in
   defending any such claim of liability, except that Seller and Buyer shall not be liable for any loss, liability or expense that is


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    detennined to be the direct result of acts OI omissions on the part of Bank constituting ncgligence or willful misconduct. For
    ptu'poses of tllis paragraph, all references to Bank shall mean Bank, its officers, directors, employees, agents and affiliated
    persons.

         The indemnification obligations of Buyer and Seller shall be continuing obligations notwithstanding the temlinatlon of
    any Rep\lrchase Transaction, this Agreement, the Repurchase Agrc<-'IIlent or aH ofthem.

            12.   ContillullliLQ,isputes. In tIle event of any dispute or conflicting claims by any of Buyer, Seller and any other
    person with respect to cash or Securities or any other matter covered by this Agreement, Bank shall promptly notify Buyer and
    Seller and shall either act on joint instructions or decline to comply with any and all. claims, demands or instructions with
    respect to such cash or Securities so long as such dispute orcontlict shall continue, and Bank. shaH not be liable for failure to
    act or comply with such claims, demands or instructions. Bank shall be entitled to refu..,e to act or .comply until either (i) such.
    con:t1icting or adverse claims or demands shall have been determined in a court of competent jurisdiction Or settled by
    agreement benveen the conflicting parties and Bank shall have received evidence satisfactory to it of the same, or (ii) Bank
    shall have received secmity or an inde.n1.nity satisfactory to it and sufficient to hold it harmless from.and against any and an
    losses or damages, including counsel fees and eXpenses, which it IIlay incur by reason of taking any action, except Bank shall
    accept cash from Seller in substitution of any Purch.ased Securities and Additiotl.'ll Purchased SecUlities provided such cash has
    a Margin Value equal to or greate:r: than that of the Margin Value oftbe substituted securities. )11e provisions contained in this
    Paragraph 12 shall not in any way be deemed to limit Or restri.ct Buyer's, Seller's or Bank's .other rights ·and remedies described
    ilJ this Agreement.

          13.     El1.tiJ"e Agl'eement, Modification or A1.lI.e:odment. This Agreement constitutes the entire agreement of the
    parties with respect to its subject matter and supersedes all prior oral or written agrecrncnts in regard thereto. No modification
    or amendment of this Agreement shall be binding unless ·in writing and executed by the parties. In the event of conflict
    between this Agreement and the Repurchase Agreement, this Agreement shall cO.l),tro!.

          14.     TermlnatioD. nus Agreement shall only terminate upon termination of the Repurchase Agreement or may be
    tenninated by Buyer or Seller, solely, 011 thirty day'S written notice to the other parties; provided, however, that any such
    termination shall not affect any Repurchase Transaction then outstanding and provided furthcr that the Agreement shalluot
    terminate until Bank has received written notice of the temrination of this Agreement fro)11 Seller or BuyeL

          15.    Several;ility. If any provision (If this Agreement is held to be tmenforceable as a matter of law, thc other tcrnlS
    and provisions hereof shall not be affected thereby and shall remain in full force and effect

          16.     Ril!;hts and Remedies. Except as otherwise specified herein, the rights and remedies comerre-d upon the parties
    hereto shall be cumulative, and the exercise or waiver of any thereof shall not preclude or iDhibit the exercise of any additional
    rights and remedies.

         17.   :fu:adillgs.    Section headings are for reference P\lIpOses only and shall not be construed as a part of this
    Agreement.

          18.     Counteryllrts. Ths Agreement may be executed in one or more counterparts, all of which taken together 1>hall
    constitute one instnunent.

         19.      Notices. AU notices slL.'l.11 be given to the party entitled to receive such notices at the addresses and telephone
    numbers listed on Schedule 2 hereto or to such other address al),d/or telephonc numbers as is specified in a notice given
    pursuant to this Agreement. All notices aod instructions shall be deemed given when received..

          20.     Representations oflbnk (which shall be deemed to be made on each day On which a Repurchase Transaction is
    outstanding).

          (i)     Bank is a state chartered bank with its principal office in New Yorlc, and maintains a vault facility for the purpose
    of receiving, safekeeping and delivering physical securities on behalfof its customers atlQ. c01ll1terparties of Seller.



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           (ii)    Except to the extent otherwise provided by law. Bank wiIi maintain Buyer's Account as a custody account and
     shall administer Buyer's Account in the same manner it administers similar accounts eStablished for the same: PUIPose. Bank
     shall create and maintain the books and records created in connection with Buyer's Account in the State ofNew York.

           21.     Assignment. No party shall assign its rights and/or obligations hereunder without the prior· written COnsent of the
     other paJties. Any attempted assigmneut without such consent shall be null and void.

          22.      Goverrung LalV. This Agreement shall be governed by and constmed in accordance with the substantive laws
    (and 110t choice of law rnles) of the State of New York. The parties hereto irrevocably consent to the non-exclusive
    jurisdiction and venue of any federal or state COUlt in the Borough of Manhattan, iu the City of New York, in connection with.
    any action or proceeding arising out or of in conne-etion with this Agreement, and the parties hereto irrevocably waive the right
    to obj~ct to the venue ofany such court on thc ground of inconvenient fonm1.




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         IN WITNESS WHEREOF, the parties hereto have caused their duly author.ized representatives to execute this
    Agreement as of this _ _ day of     _




    l'HECHASE MANHAITAN BANK


    By:

    Name:                                         _

    Title:                       ~            _




    LEUMAN BROTHERS INC.
    LEHMAN COMlVIERCLI\.L PMER INC.
    ("Seller")


    J3y:                       ~~~      _ _~

    Name:                                         _

    Title: _~~                                _




    ("Buyer")


    By:                                           _

    Name;

    Title:




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                                                       SCHEDULE 1



    Security Type                                                          Margin- Pcrce:nt:;agc

    U.S- Treasuries                                                                 2%

    U.S. Govermnent Agencies or U.S. Government Spousored Agencies                  2%

    Private Label CoHaterali"ed Mortgage Obligations and Mortgagc Backed            5%
       Pass Through Secll1'ities

    Asset Backed Securities                                                         11%

    Bankers' Acceptances                                                            2%

    Certificates ofDeposit                                                          2%

    Commercial Paper                                                                2%

    Corporate Bonds                                                                 5%

    Municipal Bonds                                                                 10%

    Cash                                                                           100%




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                                                             SCBEDULEZ

    De....cription of Cash Accounts

    A.       Buycr)s Account at Bank                  :B.           Buyer's Delivery lnstructions
    ABA: 021000021                                    ABA:                                                         _
    CHASE NYC/                                        C{).   Name;
                                                                     ------------------
    ACCT# 5447550221                                  AIC if:                                                      _

    DEPT 4004/                                        AlCName;
                                                                     ~~-----------~-~--
    Customer Name'                                    Branch:
                                                                 -------------------
    FOR TRI-PARTY WITH                                City:                                 -'-                _
    LEB.1\IfA.'1\J BROTHERS                           Attn;            ~           ~                               _



    C.      Authorized Persons for Buyer:

                Name                                Signattlre                              Title




    D.      Notice Information:

                  lito Seller: Lehman Brothers, 3 World Financial C,(:nter, 8th Floor, New York, New Yor~ 10285-0800, Attn:
                  Robert H. Bing, Central Funding; Phone; (212) 526-8634, Teleeopy: (212) 528-6664.


                  If tQ Buye.·:




                 Attn:                                          _
                 Phone:                                         _
                 Tdecopy:                                       _

                  If to Bank: The Chase Manhattan Bank, 4 Ncw York Plaza, New YOTk, New York 10004, Attn:              Brokers
    and Dealers Clearance Department, Phone (212) 623-7219, Telecopy: (212) 623-5959.




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                                                             SCHEDUI,E A

                                           CLEAR<\NCE PERFORM..L\NCE STANDARDS



    l.Chase Manh.attan Banl\ agrees to make Lehman an interest free overnight loan in the amount of any transactions Chase
    Manhattan l~ii1s to complete on a same day basis, provided Lehman has, at least two minutes priOT to the :'ipplicable close of the
    FEDWIRE (currently scheduled to be 3:00 p.m. daily 0) securities available for delivery in their clearance account, (ii)
    inputted delivelY instructions iuto the Broker Dealer Automated System, and (iii) activated auto delive.ty mode.

    2.Chase will begin to accept Lehman batch transmission ofsettliog n:-ade.s at 5:00 a.m.


    3.Chase will provide Lehman users access to BDAS at 7:00 a.m. and as late as Lehman requires for processing.


    4:Chase will provide Lehman the ability to view on-line and generate a hardCOpy "Pending Fail" report, as requested by
    Lehman.


    5.Chase wm provide Lehroau the ability to view on-line and generate a hardcopy "Projected Position" report, as requested by
    LehmarL


    6.Chase win provide Lehman the ability to view on-line and generate a hardcopy "Projected Shorf' report, as requested by
    Lehman.


    7.Chase will provide Lehman the ability to view on-line and start to print a hardcopy "Transaction JOlIIIllil" report, within 60
    seconds following the Federal Reservc.Bock-Entry System reversal close.


    S.Chase will provide Lehman the ability to view on-line a~ld start to print a hardcopy "Transaction Slllnmary" within 60
    seconds following the Federal Reserve Book-Entry System reversal close.


    9.Chase Manhattan Bank will be responsible for communication lines and hardware with a 24 hotlIl7days per week coverage.
    In the event of a communication problem with Lehman Brother's site (New York), Chase will provide on-site technical
    support.




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    13.Chase will transmit a fIle to Lehman containing "Collateral Segregation" reports within 2 minutes following execution of a
    contract collateral segregation, provided Lehman initiates the appropriate cOllulland on BDAS.

    14.Chase will notifY Lehman, by phone, of any nClll"payment of expected incoming credits by 5:00 p.m: until such time that
    Chase can provide Lel:ull,,"lll notification systematically_

    IS.Chase will notifY Lehman, by phone, of any failed transaction (fail to deliver, or fail to deliver, or fail to receive a.secUljty)
    associated with a Tri-Party Securiti<.'s Leuding Program by 2:00 p.m.

    1o_Chase will create new customer aCcOlmts and code new securities, 0.11 the BDAS system, on the same day as spccificd by
    Leluna.u in mitten notification. Lehman understands that aCColmts, which require Chase to set a d.iscrete Fed mnemonic, will
    be completed within I business day of Lehmal)'S "".itten request




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                                               SCHEDULEC

                                    DEALERS CLEARANCE CONTACT LIST

                                          The Chase Manhattan Bank
                                           4 New York Plaza, 21" FL
                                          New York, NY 10004-2477



           •   Anthony Isola
               Ph:   212·623~6446
               Fax: 212-623-5959

           •   Ray Stancil
               Ph: 212-623-5844
               Fax: 212·623·5959

           •   Bill Mosca
               Ph: 212-623-7220
               Fax: 212-623-5959

               Kathy Hagany
               Ph: 212-623..:7212
               fa~:212-623-7791




                                                                                        06/09100
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                                                        SCHEDULEE
                                                   SEGREGATED ACCOUNTS



    DEALER GROUP: DG93
    TITLE: Lehmftn Brothers Inl;:.

    DLR
    LWF
    LWE
    LWI
    LW2
    LW5
    LW6
    LWR
    LW7
    LW4
    LWA
    LWB


    DEALER GROUP: DG08
    TITLE: Lehman Brothers Derivative Products

    DLR
    LDS
    LD3
    LD4'
    LWP
    LW3


    DEALER GROUP: DG95
    TITLE: I,elmu'll Rrothers Financial Products

    DLR
    LWO
    LW8
    LW9
    LF4




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                                                           SCHEDULEF
                                               CONFIRMING REPRESENATIVES



          ~                         Telephone Number                           SpecImen Si2n:)Jure


          AnIta Garn.er             101-524-51.05


          Keith Geismar             201-524-4820


          Leonard Legoue            201-524-5122


          Micbael Maher             20 t -524-5335


          Thomas A. Fonte           201·524-4931


          baniel Fleming            201-524-4937


          John Palchynsk-y          201-.524-4997


          TIlomas RogcJ;S           201-524-.5465


          Edward Steffens           201-524-5085




          $t.:hedule F may only be aInended in writing, executed by TWO authorized signatories as per the SccretaIy's
          Certificate for Bank Accounts.




          By~~~     (Auth rized     cer)
                                                                      By:   ~1ft;JiIfJU/
                                                                            '(Authorized Officer)

          'title:   6" \}   P                                                  Title: Nfl
          Date:     Col q too                                                  Date: fj)/9/{FJ


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                                                          SCHEDULEF
                                                     AUTHORIZED INDIVIDUALS
          (Authorized individuills to instruct settlement activity via phone. fax. or messenger as described in Section 6)

          Name                       Telephone Number

          AlbcrtAbad                 201-524~5330




          John Arancio               201-524-5339


          JQbn Bertolotti            201-524-510&


          Roger Cabrera              201-524-5336


          Anthony Collura            201-524-5340


          To~y Da   Silva            201-524-5341


          Sandra Henriquez           201-524-4995


          David Hughes               201-524-5338


          Viu.cent Mennella          201~524-512.1




          Stephen Pisciotti          201-524--5086


         Bill RaInO$                 201-524-5109


         Rob Rodriguez               201-524-4990                              ~~~~~~~4~'-""""'-~'-:·
                                                                               h              .....-
                                                                                            ;   f
                                                                                   /
                                                                               f            ~/ ?
          Chris Visconti             201-524-5925
                                                                               6fj~J
         Schedule F may only be amended in writing, executed by TWO authorized signatories as per the SecretaIy's
         Certificate for Bank Accounts.


         BY&~_    &, ~
           (Aut"rize~'~
                                                                     By:   fJJj9tLIM ) 1!tt/LtvUJ
                                                                           -       (A~thorl7..ed Officer)
         Title:     SV      P                                                      Title:   Fi/P.
         Date:      (p   I 'j 100                                                  Date;    tvIqI00

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                                                           SCHEDULEG

                                                      3611 Modems
                                                     EQUJJ>MENT
                                                COMMUNICATION LINES
                                              COl\1MUNICATION J'ROTOCOL


    EQun~MENT




    3       AT&T 3610 Modems
    5       NET SPX-30 Multiplexors
    10      AT&T 3611 Modems
    6       Racal Milgo Datacryptor 64 encryption device
    13      AT&T 36lX Moderns

    3 Racal Milgo Datacryptors and all 13 AT&T 361X Modems shaH be located on Bank's premises:


    COMMUNICATION UNES


    13      56 KB DDS II Four Wire Leased Lines
    14      Two Wire Dial Tone Leased Lines



    COMMUNICATION PROTOCOL


    LU 62 AT 56 .KB




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                                                               SCl!EDULElI

                                                CHASE MANR.4TTAN BANK
                                       BROKER DEALER A.UTOMATED SYSTEM (RDA.S.)
                                       SECURITY FEATURES ~OR :REMOTE CLEA~CE

     Levels of Log-on in RDA.S.

     1. The 'usetIlamc', or V.M.S.log-on, is. a menu-controlled level that allows for rmming reports, etc.., but does not allow
     modification of data. Typically, a common log-on is used by all operators at a single location. (Although additional accounts
     can be added, for another user group, typically to segregate :rn=agement-type fi:mctions on a separate menu.)

    2. The "application" level allows individual operators to modify data, with varying levels of operator access. 1l1is process is.
    ll1lder the control of the systems liaison group, who coordinates this process with the customer. At this.levcl, each operator
    must have a separate account, with a. unique I.D. number and password. (This level is also commonly referred to as the
    "clone" level.)

     120 Day Operator Password DisaNement:

    Any opemtor who does not log-on to RD.A.S. within the 120-day pcriod is automatically put into a '.'disabled" status, and will
    not be able tei access the application. (See separate dlX:LUnent OIi operatOJ: passwords.) (Also see "quarterly operator review.")

    180 Day Usemame Password Expiration:

    Any account not used fOr 180 days: TIle account will be placed in a "disusered" status. If the customer'S authorized signer
    docs not COntact the systems liaison group within 30 days to be re-activated the account will be deleted.

    Quarterly Operator Review:

    Each q~larter we mail a report listing operator aCC01,lnts and their current statllS for ve.d.fication by the customer's authorized
    signer. Any changes to their status require that we receive a new "operator aCcess control foun". We must be advised iJ
    operators indicated as being in a "disabled" status are to be retained or deleted. Ifwe are not adviscd, we will. delete the
    operator.

    "Username" aCCOl,In! 'disusere<!' after 30 days of inactivity:

    The systems liaison. group will have to l)e Iiotifi~d by the custoluer's authorized signer in order for the account to be'
    reactivated.

    "Username" Unsuccessful log-on attempts locks out all terminal access:

    Any account for which 3 consecutive failed log-on attempts OCCur, will be locked out of all the terminals at their location. The
    systems liaison group will have to be notified by thc customer's authorized sjgner in order for the -terminals to be re-activated.

    Single Tenninal Locked Out After 3 Consecutive Unsucce$Sful Log-On Attempts:

    Any operator who has 3.unsuccessful log-on attempts to the "application" level will have their tem1in.a1 locked out. The
    customer's authorized signer wold then have to 90niact the liaison group to re-activate the terminal.               .

    Only 1 operator pel' terminal at a tinle allowed to be logged on:

    Any operator who is logged-on in B.DA.S. cannot log on to another terminal at the same time. Wb.en logging on to a second
    terminal is attempted, the fust terminal will log out.


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        Money Transfers ('"MTFR') Requires 2 Operators:

        Any remote operators that do money transfers on BoD.A.S. will need a separate operator to pcnd the transfer, and a separate
        intemal Chase operator to settle the transfer.

        HMDBT' and "MTFR" Verifications Require 2 Operator to Approve:

        The verification of money debits ("MOnT") and money transfers e'MTFR") requin:s th.. ,f':nlQt"" <:,1JSronltr to have a separate
        operator to create the transaction, and a separate operator to \lerity the tr"usaction, before it can be settled. We require that all
        remote customers employ this vellfication to reduce risk.

        Free Deliveries Cannot Be Settled Without Passing Credit Review:

        Any free deliveries pended in RD.A.S. will not be able to be s.;:uled without passll1g the credit review calculation in the,
        system. If a transaction does not pass, it will go into "'Awaiting Review" status. The Cha.'ie account officer will review those
        transactions, and only approv.;:d transactions ean b.;: settled.

        Opdon 1'1) RcquiJ:'e 2 Remote Operators to Verify Free Deliveries;

        The customer may choose a system option that will require 2 separate op.;:rators to make a free delivery' eligible for the '
        settlement. Similar to the "MDBT' and "MTFR" verilkation, a separate opemtor would pend, and another would verify.
        From that point, the same credit review process would u'tkc place_

        Customer Access Controlled Both By Operator Account LD. and Terminal LD.:

        RD.A.S.limits access to any particular customer accotmts by both' the authorized settillgs associated ,with the operator
        account, and authori,..ation se~tings associated with the location of each particular tenninal.

        Unautbori7..ed Access to Privileged Commands by Both Terminal and Operator:

        RD.kS. system is Set up with a privileged authox,ization mask and each system conmland is controlled by authorization "'bits"
        set within the mask. Each operator and tenJljual are set up so operators can access only certain conm1ands they're authorized
        for on the systern_

        Password Expiration:

        After 90 days, an Oper.ator must change their password when prompted with the "'CPWD" command.. If th.;: operator docs not
        change their password within 30 days, they will be "disabled" and must contact tile systems liaison group to "reset" their
        password. (See separate docmnellt on operator passwords).




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        Broker Dealer Automated System (B.DA.S.)
        Operator Password Procedures for Remote Clearance;


        The B.D.A.S. system provides an automated password generation system whereby each operator will be required to '-Teate a
        new password every :ninety days. The system will prompt the "CPWD." (change password" command .H the ninety day ,
        expiration period, and will only accept a password that is valid within celtain parameters, e.g. length, alpha-numeric, ere. This
        command would also be used at any time an operator needs to change their password prior to the' ninety day period. First time
        operators are issued a temporary password by tbe system liaison group (ouly after which OUr system access autll0rization
        procedures to initiate their account have been completed), which only allows them to log onto the "CPWD'~ screen which
        requil'es the operator to enter a password unique to themselves. If you are lmable to access the system (e.g. forgotten Y(lllT '
        password) the procedure is to contact the systems liaison group at 212-623-3209. They will call back at the customer's office
        to Urcset" (issue a new'temporary password). The liaison group 'Will only "reset" (issue a new tenlporary password), for an
        individual known to tllern.




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                                        Amendment to the Clearance Agreement


           This Amendment to the Oearance Agreement (the "Amendment") is made by and among Lehman Brothers
   Inc. ("LBr), and JPMorgan Chase Bank ("JPMorgfm").

          WHEREAS. LBl (as suCcesSor to Lelunan Govemment Secmities lnc. and Lehman Special Securities Inc.),
   and JPMorgan entered into tbat certain Oearance Agreement dated as of January 3,2002 (the «Clearance
   Agreement");

           WHEREAS, LBI. and JPMorgan wish to add Lehman Commercial Paper Inc. ("LePI"), Lehman Brothers
   International (Europe) ("LBIE"), Lehman Brothers Bank, FSB ("LBB"), Lehm.an Brothers Bankhaus AG ("LBBAG")
   and Lehman Brothers OTC Derivatives Inc_ ("LOTe") as an additional parties to the Clearance Agreement, subject to
   aU of the rights and responsibilities of a clearance customer as set forth in such C1e,arance Agreement;

            WHEREAS, LePI, LBIE, LBB, LBBAG and LOTe wish to become additional parties to. and accepts all of
   the rights and responsibiHties of a clearance customer as specified in the Clearance Agreement;

           NOW, THEREFORE, for good aodvaluable consideration, the receipt tU1d sufficiency of which are llereby
   acknowledged, the parties hereto agree that LCPL LBIE, LEB, LBBAG and LOTe are named as parties to the
   Cleartm.ce Agreement, and that the tem1S "you" and "your", whenever they appear in the Cle.<uance Agreement shall
   apply to LBI, LCPl, LBIE, LEB, LBBAG, LOTC Or any of them, depending upon the instructions provided by such
   party or patties with regard to any transaction entered into pursuant to the Clearance Agreement.

          AU capitalized terms used and not defined herein shall have the meaning ascribed to th.em in the Clearance
   Agreement_

           This Amendment troy be executed in one or mOre counterparts, and when each party bereto has executed at
   least one counterpart, this Amendm.ent shall be deemed to be the one and the same document.

            This Amendment shall become effective on the date written below.
                                                                                                                       th
           IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be executed as of Janmuy 30                 ,
   2004, by their respective authorize.d officers.

                                                          fI
                                           Lehman B 6th~ 1Bankhaus AG

   ~
   Name: :H.eidcmarie Echtermann
                                           By:           1j :;
                                           Name: Daniel Fleming
                                                                                           By:
                                                                                           Name;
                                                                                                 ~~~:::::===--
   Title: Senior Vice President            Title: Vice Presideut                           Tide: ANTHONY 1S()L~
                                                                                                 ViCE PHESIDE;,\}T


   By:   -:>W~~~-7"""""--~
   Name: Heidem~\f1e Echtermann
   Tide:   Senior Vice President




   B y: -\d-~"'---""""":==:7L--"-
   Name: Heidemarie        termann                ....
   Title: Senior Vice President
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                                                            SCHEDULED

                                                                FEES
                                                                  .;   ~   ..


    SECURITY CLEARANCE AND TRIPARTY SERVICES PRIClNG:


    Fed Book-Entry Received and/or Delivers:*

            Fitst 40, 000 monthly movements                                        $2.50 per movement
            At 40,001 and greater monthly                                          $1.75 per movement
            FRB transaction fee (Receives and Delivers)                            $.85 passed along


   Interoal Pair-Ofts (Receives and Delivers)                                      $1.75 per item
   rri-p<lrty Accounts                                                             .55 basis pts ofprincipal limt daily
   DTC Collateral Pledge                                                           $.80 perplt::dge
   PTe CLF Bulk Transfer                                                           $50 pass through per item
   Inventory Maintenance                                                           NO CHARGE


   ""Same pricing applies to receives and delivers ofcustomer safekeeping positions.


   EQlITPMEN1' CHARGES:
                                                 Monthly
                                                Maintenance

   3           AT&T 3610 Modems                      $729
   5           NET SPX·30 Multiplexors              1,088
   10          AT&T3611 Modems                      2,310
   6           Racal Milgo Datacryptor 64-
               encryption devices                     138
   13          AT&T 361x. Modems                     729
                                                   $4,994




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                                  PHYSICAL OUTSOURCING SERVICES PRICING

                      RcceiveslDelivers (LBl)                                                   $18.00
                      RcceiveslDeJivers (LCPI)                                                  $16.00
                      Transfer Securities*>!<                                                   $12.00
                      Collections                                                               $12.00
                      P&I Payments- CMO's                                                        $7.00
                      Collections - Called Securities                                           $15.00 .
                      TendersJExchangcs                                                         $25.00
                      Internal Transfers .                                                       $5.00
                      Set Asides                                                                 $5.00
                      Asset MainteIL.'ffice (per issue)'"                                        $2.25
                      Temporary Withdrawal ~ Transfcrs>!ol<                                     $12.00
                      Telephone/Hard Copy Instructions                                          $10.00
                      Referral/Rcc1aim                                                          $25.00
                      Account Maintcn3.Ilce*                                                   $100.00
                      TITAN*                                                                   $100.00
                      Special services Securities Adj.+                                        Various
                      Net Settlement Accounting*                                             $1,500.00

                                  Represents Monthly Fees per ACl;ount
    **                            Does not include pass through charges for Shipping and Insurance. (lnd
                                  Certificate's fees imposed by Transfer Agents.
   .+                             Syndicates: including representation & pick-up, prepackittg, Flip Trackings:
                                  $3.00 per. Other services. re-eonstitutions. clOsings, research and photocopying.
                                  audits, and various fees.

                                  R&D charges include all messenger (llld wire fees.




                                                    (Effective 11/197)




                                                                                                                      06/09/00
